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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
Consumer Financial Protection Bureau,

             Plaintiff,                        Case No. 3:17-CV-00101-RDM
                                               (Hon. Robert D. Mariani)
             v.                                (Special Master Thomas I. Vanaskie)

Navient Corporation, et al.,                   Electronically Filed

             Defendants.

                               [PROPOSED] ORDER

      IT IS HEREBY ORDERED that:

      1.     The deadline for Plaintiff to submit an expert report in response to the

expert report of Dr. Xiaoling Lim Ang is suspended pending resolution of the

objections to Special Master Report #18 (Doc. 453) that Plaintiff intends to file

pursuant to Federal Rule of Civil Procedure 53(f)(2).

      2.     If the Court’s decision resolving Plaintiff’s objections does not result in

Dr. Ang’s report being stricken, the deadline for Plaintiff to submit an expert report in

response to the report of Dr. Ang shall be two weeks following the Court’s decision.



Dated: March ____, 2020                _________________________________
                                       HONORABLE THOMAS I. VANASKIE
                                       SPECIAL MASTER
